          Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 1 of 8 PageID 9

  Filing # 120141918 E-Filed O1/25/2021 10:08:41 AM



                          IN THE COUNTY COURT OF THE TENTH JUDICIAL CIRCUIT
                                   IN AND FOR POLK COUNTY, FLORIDA
                                        SMALL CLAIMS DIVISION

           ALEXANDER NUNEZ,

                     Plaintiff,

          V.                                                      Case No.:

           HEALTHCARE REVENUE RECOVERY
           GROUP,.LLC

                     Defendant.


                                                      COMPLAINT

                                                    INTRODUCTION

               1. This is an action for damages brought by Plaintiff, ALEXANDER NUNEZ, ("Plaintiff'

          hereinafter) an individual consumer against the Defendant, HEALTHCARE REVENUE

          RECOVERY GROUP, LLC (HRRG) ("Defendant" hereinafter), for violations of the Florida

          Consumer Collection Practices Act, §559.72, et seq., Fla. St., ("FCCPA" hereinafter), and

          violations of the Telephone Consumer Protection Act, 47 U.S.C. §227, (hereinafter referred to as

          the "TCPA").

               2. This is a complaint for damages which are greater than $2,500.00 but which do not exceed

          $5,000.00 exclusive of costs, interest, and attorney's fees.

               3. At all times material herein, Plaint'iff is a natural person residing in Lakeland Florida.

               4. At all times material herein, Defendant is a corporation registered in the State of Florida as

          a Florida Profit Corporation and was doing business as a medical provider in the State of Florida

          and the transaction(s) which led to the alleged debt as described herein. occurred in County,

          Florida.




2021SC-000466-0000-LK             Received in Polk O1/25/2021 11:19 AM
        Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 2 of 8 PageID 10




            5. Venue in this county is proper as the conduct complained of occurred in Polk County,

         Florida and is in compliance with §559.77(1), Fla. St.

             6. This Court has subject matter jurisdiction over the allegations herein pursuant to

         §34.01(1)(c), Fla. St.

             7. At all times material herein, Defendant was acting as a collector of an alleged consumer

         debf with respect to. Plaintiff, a resident of the State -of Florida. On information and belief

         Defendant regularly acts as a collector of consumer debts in the State of Florida with regards to

         medical treatment and/or services it provides to individual consumers.

                                           FACTUAL ALLEGATIONS

             8. Plaintiff suffered injuries in an industrial accident arising out of and in the course and scope

         of Plaintiffls employment with Paradise Fruit in the State. of Florida and which occurred on or

         about March 13, 2019.

             9. Plaintiff received workers' compensation benefits pursuant to Chapter 440, Fla. St.,

         including but not limited to medical care and treatment for Plaintiff's work-related injuries. See

         §440.13, Fla. St.

             10.The identified workers' compensation insurance carrier covering Plaintiff's work-related

         accident is CCMSI (hereinafter referred to as "Carrier").

             11.Plaintiff received emergency medical treatment at Florida Baptist Hospital on May 31,

         2019 for compensable work-related injuries caused by Plaintiff's date of accident ("the Treatment"

         or "Treatment" hereinaafter).

             12.While at Florida Baptist Hospital Plaintiff was treated by Paragon Contracting Services, a

          provider within the hospital for his same compensable work-related injuries.




          COMPLAINT
          PAGE 2 OF 7



2021SC-000466-0000-LK             Received in Polk O1/25/2021 11:19 AM
         Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 3 of 8 PageID 11




              13.When Plaintiff presented to Florida Baptist Hospital ("Hospital" Hereinafter) for

          emergency medical treatment, he informed the facility during the admissions process that the

          injuries Plaintiff was seeking treatment for were caused by a work-related accident. Additionally,

          Plaintiff explained how the accident happened at work and that a tank rolled over his arm.

              14.It is the usual custom and practice that hospitals and other facilities that provide emergency

          medical treatmeiit contract with outside companies, such as Defendant, that provide specific

          services in those facilities, such as emergency room physicians, radiologist physicians, and so on.

          It is also the usual custom and practice that any such company would have official privileges with

          the treating facility which provides them access to the medical histories for the patients that they

          provide treatment to while at the facility. Defendant necessarily obtained information from (either

          through Defendant independently accessing Plaintiff's medical history, or through the facility

          communicating said information to Defendant directly) relating to Plaintiff, and on information

          and belief such information included the fact that Plaintiff had presented to the facility for injuries

          caused by a work-related accident.

              15.Plaintiff has reason to believe that on or around November 5, 2019 Plaintiff received a bill

          from Defendant demanding that Plaintiff pay $943.00 for services 'rendered by Paragon

          Contracting Services on May 31, 2019.

              16.Plaintiff has reason to believe that Defendant sent him several other billing statements

          demanding that Plaintiff pay $943.00 for services rendered by paragon contracting services on

          May 31, 2019.

             17.It is 'undisputed.that the Hospital had actual knowledge that Plaintiff was an inj ured worker

          thus financially insulated from payment of treatment based on the Plaintiff inedical records that




          COMPLAINT
          PAGE30F7



2021SC-000466-0000-LK            Received in Polk O1/25/2021 11:19 AM
        Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 4 of 8 PageID 12




         must have shown that his treatment was work-related or else the Carrier would not have reimbursed

         the hospital.

             18.The Carrier has reimbursed the Hospital for their services rendered to Plaintiff on May 31,

         2019, and the Carrier would not have reimbursed Defendant without any indication that -his

         treatment was related to his workers oompensation case.

             19.The fact that the Carrier has already reimbursed the Hospital for the debt proves that the

         debt Defendant demanded Plaintiff pay was not his responsibility. A copy of the email from the

         adjuster for the Plaintiff's workers compensation case proves the same which is attached to this

         complaint as Exhibit "A."

             20. Plaintiff has reason to believe that Defendant. does not have any policies or procedures or

         did not follow any policies or procedures that would prevent them from billing injured workers.

             21.Plaintiff has reason to believe that Defendant accepted the debt from the Hospital without

          conducting any reasonable investigation in determining if Plaintiff actually owed this debt, and

          billed Plaintiff for. the $943.00 before conducting any investigation.

              22. Plaintiff is not responsible for payment of any treatment related to his workers

          compensation case pursuant to workers comp Iaw which states in part, "A health care provider

          may not collect or receive a fee from an injured employee within this state, except as otherwise

          provided by this chapter. Such providers have recourse against the employer or carrier for payment

          for services rendered in accordance with this chapter." See §440.13(13)(a), Fla. Stat.

              23.The debts that Defendants tried to collect from PlaintifP are automatically deemed

          illegitimate debts pursuant to workers comp law. Davis v. Sheridan Healthcare, Inc., 2D17-1790,

          2019 WL 5198669 (Fla. 2d Dist. App. Oct. 16, 2019).




          COMPLAINT
          PAGE 4 OF 9 .



2021SC-000466-0000-LK            Received in Polk Ol/25/2021 11:19 AM
         Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 5 of 8 PageID 13




              24.Plaintiff is under information and belief that the -amount sought to be collected by

          Defendant from Plaintiff is excessive in violation.of the workers' compensation statutory fee

          schedule, as provided by the Florida Workers' Compensation Health Care Provider

          Reimbursement Manual, 2016 Edition.             1.




                                       COUNTI
             VIOLATION OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

              25.Plaintiff re-alleges each of the allegations above as if set forth fully herein.

              26.The acts and omissions of Defendant and its employees and agents as outlined herein

          constitute a violation of the FCCPA with respect to Plaintiff. These actions by Defendant's

          employees and agents were done in service to Defendant and these employees and agents were at

          all times supervised and under the apparent control of Defendant. As such, Defendant is

          vicariously liable under the Doctrine of Respondeat Superior for the actions of its employees and

          agents.

              27.The FCCPA has three elements that need to be met in order for there to be a violation; the

          debt must be illegitimate, there must be a threat or attempt to enforce that debt, and there must be

          knowledge that the debt is illegitimate. Fla. Ann. Stat. § 559.72(9). Davis v. Sheridan Healthcare,

          Inc., 2D17-1790, 2019 WL 5198669 (Fla. 2d Dist. App. Oct. 16, 2019).

              28.Pursuant to §440.13(13)(a) the debt that Defendant attempted to collect from Plaintiff was

          illegitimate.

             29.Defendant tried to enforce the illegitimate debt against Plaintiff by sending billing

          statements to Plaintiff's home demanding payment.

             3 0. Defendant had actual knowledge that the debts they were trying to enforce against Plaintiff

         were illegitimate pursuant to workers comp law.




          COMPLAINT
          PAGE 5 OF 7



2021SC-000466-0000-LK            Received in Polk 01/25/2021 11:19 AM
         Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 6 of 8 PageID 14




              31. Given all three elements have been clearly met, Defendant violated Fla. Ann. Stat.

          §559.72(9).

              32.As'a result of the above violations of the FCCPA, Defendant is liable to.Plaintiff for

          statutory damages, reasoriable attorney's fees, and costs.

                                           COUNT II
                     VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

              33. Plaintiff incorporates the above paragraphs as if fully re-stated herein.

              34. The acts and omissions of Defendant and its employees and agents as outlined herein

          constitute a violation of the TCPA with respect to Plaintiff. These actions by Defendant's

          employees and agents were done in service to Defendant and these employees and agents were at

          all times supervised and under the apparent control of Defendant. As such, Defendant is

          vicariously liable under the Doctrine of Respondeat Superior for the actions of its employees and

          agents.

              35. The Plaintiff has reason to believe that Defendant and its employees and agents violated

          the TCPA, 47 U.S.C. §227(b)(1)(A)(iii), by making multiple phone calls to Plaintiffs cellular

          phone, when Defendant did not have Plaintiffs consent as the Plaintiff revoked any such consent

          the first time he received a calls yet received numerous calls thereafter. Plaintiff has reason to

          believe that the phone calls made to him'were by both an agent of Defendant, and an automated

          dialer. Plaintiff has reason to believe that all calls made by Defendant were made with the intention

          of collecting payment for services rendered on May 31, 2019.

             36. As a result of the above violations of Ahe TCPA, Defendant is liable to Plaintiff for

          injunctive and declaratory relief, damages, and the costs of this action.

                    WHEREFORE, Plaintiff respectfully prays that judgment. be entered against Defendant

          for the following:




          COMPLAINT
          PAGE 6 OF 7



2021SC-000466-0000-LK            Received in Polk 01/25/2021 11:19 AM
         Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 7 of 8 PageID 15




                  A. Statutory damages of $1,000 pursuant to §559.77, Florida Statutes;

                  B. Statutory damages of either $500 per call for unintentional or $1,500 per call for
                     intentional violations of the TCPA by Defendant pursuant to 47 U.S.C. §227
                  C. Costs and reasonable attorney's fees from Defendants pursuant to §559.77, Florida
                     Statutes and 15 U.S.0 §1692k(a)(3), 47 U.S.C. §227
                  D. For such other and further relief as may be just and proper.

                                              }''h
          Respectfully submitted this ~_         day of   J 01-rw -f                , 20cq(


                                                               J      R. KOBAL, ESQ.
                                                               KOBAL LAW, P.A.
                                                               12169 W. Linebaugh Ave.
                                                               Tampa, FL 33626
                                                               813-873-2440
                                                               koballaw@yahoo.com
                                                               Florida Bar No.: 0542253
                                                               Attorney for Plaintiff




          COMPLAINT
          PAGE 7 OF 7



2021SC-000466-0000-LK           Received in Polk 01/25/2021 11:19 AM
               Case 8:21-cv-00366-TPB-CPT Document 1-1 Filed 02/16/21 Page 8 of 8 PageID 16
   1/2512021                            Yahoo Mail - RE: [EXTERNAL] Nunez, Alexander OJCC Case No.: 20-000966RAA




        RE: [EXTERNAL] Nunez, Alexander OJCC Case No.: 20-000968RAA

        From: Corrin Horner (chorner@ccrosi.com)
        To:     koballaw@yahoo.com
        Cc:     kmandigo@ccrosi.com .
        Date: Thursday, May 21, 2020, 04:53 PM EDT


        Good afternoon Mr. Kobal,



        Florida Baptist was paid from our company for DOS 5/31/19. We are unable to send you the medical
        records. The adjuster is Kristi Mandigo.

        Thank you.



        Corrin Horner

        Claim Supervisor I Workers' Compensation

        PO Box 948399
        Maitland, FL 32794

        Phone: 407.660.5641

        Fax: 217.477.6946

        Email: CHorner@ccrosi.com

        www.ccrosi.com




        From: Jason Kobal <koballaw@yahoo.com>
        Sent: Tuesday, May 12, 2020 10:32 AM
        To: Chrissy Marshall <cmarshall@ccrosi.com>
        Subject: [EXTERNAL] Nunez, Alekander OJCC Case No:: 20-000968RAA


        DeAr Ms Shroup,



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2021SC-000466-0000-LK                Received in Polk O1/25/2021 11:19 AM
